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AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                      for the
                                                         Eastern District
                                                     __________   Districtofof
                                                                            New  York
                                                                               __________

                      United States of America
                                 v.                                     )
                                                                        )        Case No.    23-M-488
                             Jiaxing Li                                 )
                                                                        )
                                                                        )
                                                                        )
                             Defendant


                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      Jiaxing Li                                                                                                ,
who is accused of an offense or violation based on the following document filed with the court:

      Indictment               Superseding Indictment             Information          Superseding Information                Complaint
      Probation Violation Petition                Supervised Release Violation Petition          Violation Notice             Order of the Court

This offense is briefly described as follows:
  Hobbs Act robbery conspiracy, in violation of Title 18, United States Code, 1951(a)




Date:          05/23/2023
                                                                                               Issuing officers signature

City and state:          Brooklyn, New York                                                   The Hon. James R. Cho
                                                                                                 Printed name and title


                                                                      Return

          This warrant was received on (date)                               , and the person was arrested on (date)
at (city and state)                                               .


Date:
                                                                                              Arresting officers signature



                                                                                                 Printed name and title
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                      This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                      (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                                Weight:
Sex:                                                                   Race:
Hair:                                                                  Eyes:
Scars, tattoos, other distinguishing marks:



History of violence, weapons, drug use:


Known family, friends, and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):



Date of last contact with pretrial services or probation officer (if applicable):
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LHE:MRG/KCB
F. #2021R00498

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------X
                                                          TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
                                                          AFFIDAVIT AND COMPLAINT IN
              - against -                                 SUPPORT OF APPLICATION
                                                          FOR ARREST WARRANT
JIAXING LI,
                                                          (18 U.S.C. § 1951(a))
                            Defendant.
                                                          23-M-488
---------------------------X

EASTERN DISTRICT OF NEW YORK, SS:

                 GRACE CHAN, being duly sworn, deposes and states that she is a Special Agent

with the Federal Bureau of Investigation, duly appointed according to law and acting as such.

                 On or about and between April 20, 2021, and May 4, 2021, within the Eastern

District of New York and elsewhere, the defendant JIAXING LI, together with others, did

knowingly and intentionally conspire to obstruct, delay and affect commerce, and the movement

of articles and commodities in commerce, by robbery, to wit: the robbery of United States

currency, electronic devices and personal property from individuals engaged in prostitution at

hotels.

                 (Title 18, United States Code, Section 1951(a))

                 The source of your deponent’s information and the grounds for her belief are as

follows: 1




          1
               Because the purpose of this Complaint is to set forth only those facts necessary to
establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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                                                                                                 2

  I.   Overview

               1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and

have worked in this capacity since January 2020. During my tenure with the FBI, I have been

involved in the investigation of numerous cases involving organized crime, including Hobbs Act

robbery cases, and have utilized, among other investigative techniques, physical surveillance,

search warrants and debriefing of confidential sources and cooperating witnesses. I am familiar

with the facts and circumstances set forth below from my participation in the investigation,

which includes, but is not limited to, my review of the investigative file, electronic

communications, geographic location information, bank records, travel records, video

surveillance, telephone records, interviews with witnesses, conversations with other law

enforcement officers involved in the investigation and law enforcement reports.

               2.      The FBI and the New York City Police Department (“NYPD”) are

investigating members of an organization running a prostitution business based in Queens, New

York, and operating throughout the United States (the “Organization”). On April 7, 2022, a

grand jury in the Eastern District of New York returned an indictment (the “Indictment”)

charging nine individuals variously with racketeering conspiracy, sex trafficking conspiracy,

interstate prostitution and interstate prostitution conspiracy, money laundering conspiracy,

distribution of proceeds of a prostitution business, Hobbs Act robbery and robbery conspiracy,

assault with a dangerous weapon in-aid-of racketeering and access device fraud in relation to this

investigation. See 22-CR-158 (ENV). The Indictment is attached hereto as Exhibit A and

incorporated by reference herein.
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                                                                                                   3

 II.   The Enterprise

               3.       The Organization or “Enterprise,” as defined in detail in Exhibit A,

operated at least in or about and between April 2019 and September 2021, both dates being

approximate and inclusive.

               4.       A cooperating witness (“CW-1”) 2 has informed law enforcement in sum

and substance and in part, that in or around late September 2020, one of the individuals charged

in the Indictment, MEIZHEN SONG, recruited CW-1 to help beat up prostitutes. SONG

informed CW-1 that beating a prostitute fell within a legal “gap,” where, because the women

were engaged in illegal conduct, law enforcement would not get involved. Subsequently,

SONG added CW-1 to a WeChat group with additional participants, where CW-1 learned details

regarding various attacks on commercial sex workers in which CW-1 participated in exchange

for money. CW-1 has identified the participants in the WeChat group, as well as subsequent

WeChat groups, as including a number of individuals charged in the Indictment, including

SONG, BO JIANG and RONG RONG XU, most of whom CW-1 met in person throughout the

course of the conspiracy. 3 Through his participation in the conspiracy, CW-1 learned, in sum

and substance and in part, that a number of the assaults described below were directed because



       2
                 CW-1 has pled guilty to, among other crimes, racketeering, including predicate
acts of interstate prostitution, Hobbs Act robbery and robbery conspiracy and money laundering
conspiracy, among other crimes, in the Eastern District of New York pursuant to a cooperation
agreement. CW-1 is cooperating in the hopes of receiving leniency at sentencing. Information
provided by CW-1 has been corroborated in significant part by information provided by reports
by other witnesses, video surveillance and physical evidence, among other things.
       3
                CW-1 identified JIANG's WeChat handle as that belonging to a male leader in the
Enterprise. Law enforcement later identified that individual as JIANG. CW-1’s identification
of the users of particular WeChat accounts is corroborated by substantial additional evidence in
this case, including but not limited to, the content of the WeChat communications, phone
records, location data, physical surveillance, witness testimony, and travel records, among other
things.
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members of the conspiracy believed certain commercial sex worker victims were working for

rival organizations and the co-conspirators wanted to drive the commercial sex workers and the

rival organizations with which they were associated out of the area.

III.   LI’s Participation in the Hobbs Act Robbery Conspiracy

                    A. April 22, 2021, Hobbs Act Robbery and Assault – Overland Park Kansas –
                       Holiday Inn

               5.      In or around April 20, 2021, and April 22, 2021, the defendant JIAXING

LI, as well as two co-conspirators, including an individual charged in the Indictment, CARLOS

CURY, travelled to Overland Park, Kansas, from Queens, New York by car at the direction of

XU and JIANG. As set forth below, this trip resulted in the assault of an individual (“Jane Doe

15”) at the Holiday Inn located at 10920 Nall Avenue in Overland Park on April 22, 2021.

               6.      Specifically, Jane Doe 15 reported to law enforcement that she was

assaulted in April 2021 by two males while engaged in commercial sex work at a hotel in

Overland Park, Kansas. Jane Doe 15 reported that one male purported to be a customer, came

to her hotel room, engaged in sexual intercourse with her and paid her in cash, before he

restrained her with one arm and allowed a second male to enter the room. The second male

assailant pointed what appeared to be a firearm at Jane Doe 15, and together he and the first male

placed duct tape over Jane Doe 15’s mouth and bound her hands and feet. The men struck her

across her head and face with what appeared to be a firearm, kicked her and hit her. Jane Doe

15 reported that she lost consciousness during the assault. The assailants stole Jane Doe 15’s

two cellular phones and cash.

               7.      Communications prior to the assault between XU and another individual

in the Indictment, SIYANG CHEN, demonstrate that the assault of Jane Doe 15 took place in

furtherance of the Organization’s activities. Specifically, two days prior to the assault of Jane
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Doe 15 in Overland Park, Kansas, at approximately 8:35 p.m. EDT on April 20, 2021, XU asked

CHEN via the messaging platform WeChat, 4 “Ask KS rival hotel address.” A minute later, she

wrote: “I’m worried they switched hotels.” At approximately 8:40 p.m. EDT, CHEN wrote to

XU: “10920 Nall Avenue, KS 66211,…..switched.” That address—10920 Nall Avenue, KS,

66211—is the address of a Holiday Inn in Overland Park, Kansas.

               8.     LI served as a driver in connection with the April 2022, 2021 assault and

robbery, as demonstrated by, among other things, communications sent via the number (914)

621-6299, which is used by LI. Specifically, at approximately 11:04 p.m. on April 20, 2021,

JIANG, via his TextNow account, wrote to CURY: “The driver you guys met last time. He will

call you. +1 (914) 621-6299.” As described below, there is probable cause to believe that the

number JIANG provided to CURY for the “driver” (the “6299 Number”) was used by the

defendant JIAXING LI at all times relevant to this Complaint. This number was serviced by T-

Mobile and AT&T during the relevant time period. Although records obtained from T-Mobile

and AT&T do not show a subscriber name listed for the 6299 Number, a New York City Police

Department complaint from June 13, 2019, in which the defendant JIAXING LI was the

complainant in a subway assault case, identifies LI’s cell phone number as the 6299 Number.

Further, LI’s registered address with New York’s Department of Motor Vehicles was a location

on Kissena Boulevard in Flushing, New York (the “Kissena Boulevard Address”). The user of

the 6299 Number provided, via text message, the Kissena Boulevard Address to XU on April 30,

2021, to obtain an identification card and cash for the “two trips plus gas and toll money.”



       4
               I have reviewed all communications on WeChat described herein pursuant to
judicially-authorized search warrants. Certain WeChat communications referenced herein took
place in Mandarin. Where original communications were in Mandarin, I either reviewed or
prepared draft translations of such communications. As noted, all such translations are in draft
form and subject to further review.
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Further, historical cell site records from T-Mobile show that the 6299 Number was frequently

located within a half mile of the Kissena Boulevard Address in the spring of 2021.

               9.     At 11:20 p.m. EDT on April 20, 2021, JIANG told CURY: “Good see you

guys at car rental center.” Records from Avis-Budget show that at approximately 11:51 p.m.

EDT, a rental car under the name of another individual charged in the Indictment, RAYMOND

YAN, was checked out of Avis at LaGuardia Airport in Queens, New York.

               10.    At approximately 9:51 p.m. EDT on April 21, 2021, the defendant

JIAXING LI, via the 6299 Number, sent XU a message which stated that they would arrive

around four or five in the morning (of April 22, 2021). XU asked why they would be arriving

so late, and LI explained they slept the previous night and only set off in the morning. XU

asked LI, “can they do the work tomorrow [i.e., April 22, 2021]?” LI responded, “Of course.

The two of them are sleeping soundly in the car.”

               11.    At approximately 11:20 a.m. EDT on April 22, 2021, the Avis rental car

checked out of the LaGuardia Airport Avis in YAN’s name was checked into the Avis Kansas

City Airport. Approximately half an hour later, at 11:58 a.m. EDT, a Hertz car was rented

under the name “YI YANG” 5 from the Kansas City Airport. The defendant JIAXING LI, via

the 6299 Number, and XU were in communication via text message throughout the return of the

first car and rental of the second, which included, in part, the below communications:

           a. At approximately 12:34 p.m. EDT on April 22, 2021, XU asked LI: “Have they

decided when they’re taking action?” LI responded: “Buying the tape now. Probably after 12

[likely referring to CDT local time].”



       5
         Based on my review of the travel records of the Individuals charged in the Indictment,
“YI YANG” is a name that has frequently been used by the Organization in connection with
travel bookings made in furtherance of assaults and robberies.
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            b. At approximately 1:28 p.m. EDT on April 22, 2021, XU wrote to CURY:

“Remember to take her phone.” CURY responded: “Yes.”

            c. At approximately 1:34 p.m. EDT on April 22, 2021, LI wrote to XU: “We are

there. They are about to go in now.” LI then wrote, “That little brother asked me to check if

anyone is outside, confirming if they fooled us last time. Should I go or should I wait in the

car?” XU informed LI to check. XU also instructed LI to park across from the hotel: “that way

it’s easier for you to pick them up when they come out.”

                12.     Historical cell site records obtained pursuant to a judicially-authorized

warrant for a cell phone associated with CURY show that his phone was in the vicinity of the

Overland Park assault (less than one mile away) on April 22, 2021 at approximately 1:43 p.m.

EDT.

                13.     At approximately 1:44 p.m. EDT, XU wrote to the defendant LI, “She

found a good hotel. The hospital is right across the street. [crying-with-laughter emoji].” At

around the same time, at approximately 1:45 p.m. EDT, XU wrote to JIANG via WeChat, “The

rival found a good hotel. It’s right across from the hospital. Once assaulted, can go right

across the street to the hospital.”

                14.     At approximately 1:46 p.m. EDT, XU wrote to JIANG: “I’m near their

hotel. Once they’re done assaulting, I’ll continue to stick around. See if the girl reports it to

the police.”

                15.     At approximately 1:52 p.m. EDT, the defendant JIAXING LI wrote XU

via WeChat that “the two,” who I believe to be CURY and a co-conspirator, just returned to the

car and said the address switched to the hotel across the street, so they were heading to the new

address now. XU responded to LI: “I told them already that they switched hotels.” XU asked
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LI if he believed the “laowai [i.e., the non-Asian] is capable.” 6 LI responded that he (the

laowai) was fine, but that the Korean [i.e., believed to be the third co-conspirator] is “not so

capable.” LI offered to talk further with XU after the trip.

               16.     At approximately 1:55 p.m. EDT, XU wrote LI that she was nearby, so

“once they get the cell phone, you bring it to me.” At approximately 2:27 p.m. EDT, XU wrote

to JIANG via WeChat, “They’ve been inside for 20 minutes. I’m debating whether to call him.”

A minute later, XU wrote to JIANG: “they’re out.”

               17.     At approximately 2:31 p.m. EDT, XU and CURY had the following

exchange via text message:

            XU:        send the video to boss. figure out the password. I
                       need it now

            CURY: okay

            XU:        you took the naked pics?

            CURY: 123458. 123568

CURY then sent XU a photo of a topless Asian woman with duct tape over her mouth and what

appeared to be a bruise between her eyes. XU then responded, “incorrect password.” CURY

then sent XU a 59-second long video of an Asian woman with duct tape over her mouth and

around her wrists attempting to unlock her phone. A male resembling CURY in build is visible

on-screen, holding the phone out and asking the woman questions. Towards the end, a male

voice says “12358.” CURY and XU then exchanged the additional following messages via

WeChat:

            CURY: omg thus dude did not record when i put her in the bathroom fkoor
                  and kick her



       6
               CURY is not Asian.
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           XU:       12358 you guys missing one number

           CURY: 123568

           XU:       it’s incorrect I t[ri]ed

              18.    At approximately 2:39 p.m. EDT on April 22, 2021, JIANG and CURY

exchanged the following messages via text message:

           JIANG: whats the phone password. its all wrong.

           CURY: this.korean guy fucked up the video

           CURY: he.did.not.get.the.end when.i put her on the bathroom floor and kick
                 her. he sucks as help complains too much.

           JIANG: I just want the video prove you guys hurting her. I don’t give a fuck
                  with password I just want get the video she is getting hurt man. Do
                  you think this video can pricing 1k? For real bro? How’d I know
                  she got hurt or not that’s why I need the video If you guys didn’t
                  hurt her this time, she gonna laughing me for a while time wdf bro?

           CURY: he took.a.horrible video. the most important part was at the end
                 when i.bring.her to the bathroom. you can ask the driver, i told him
                 before we left the car to make sure he takes a good video.

                                                *   *     *

           CURY: i kicked her 3 times and then stomped on her twice in the bathroom
                 floor as the shower was running so she would not make alot of
                 noise.

           JIANG: Bro I speed[sic] a lot money for this time whatever do not mess up
                  next time

           CURY: but the video only shows when she gets up fron the bed to go.to.the
                 bathroom

              19.    At approximately 7:00 p.m. EDT on April 22, 2021, the defendant

JIAXING LI, CURY, and the third co-conspirator were stopped by Missouri Highway Patrol in

Warren, Missouri, which is approximately three hours northeast of Overland Park, Kansas. LI

was the driver. The car in which they were pulled over was the same car that was checked out
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under YI YANG’s name from the Kansas City Airport Hertz earlier that day. Missouri

Highway Patrol arrested CURY and the third co-conspirator for possession of methamphetamine.

At approximately 7:47 p.m. EDT, LI, using the 6299 Number, wrote via text message to XU

about the stop: “I said I was Yi Yang’s cousin.” XU asked him: “Was the BB gun discovered?”

LI responded, “I said we had one. That’s not a big deal.”

              20.     At approximately 1:16 a.m. EDT on April 23, 2021, CHEN and XU had

the following exchange via WeChat:

           CHEN: the girl’s nude photos, cell phone. prepare. in case [she] actually
                 reports it to the police.

           XU:       after 2-3 hours [without reporting], she probably won’t report it.
                     Their beating this time was nowhere near severe enough.

           CHEN: be prepared, just in case.

           XU:       [Another co-conspirator] says even if the woman actually reports it,
                     [we] can’t send them.

           CHEN: Why not?

           XU:        It’s only a psychological tactic.

           CHEN: Why not send them?

           XU:       This time, the assailants didn’t even get the girl’s cell phone
                     passcode. No way to send. I cannot let [another co-conspirator’s] or
                     my own WeChat be used to send them in the group chat. Can only
                     use the girl’s own WeChat to send them, but [they] didn’t get the
                     passcode.

                                             *        *       *

           XU:       I don’t think they will report it to the police. The girl told the laowai
                     the passcode. She didn’t know that the laowai did not remember it.
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               21.      Records from Holiday Inn, 10920 Nall Avenue, Overland Park, Kansas

show that Jane Doe 15 checked into the hotel on April 20, 2021 and checked out on April 23,

2021, the day after she was assaulted.

                     B. May 4, 2021 – Hobbs Act Robbery and Assault – Manchester, New
                        Hampshire – Best Western

               22.      Less than two weeks after the April 22, 2021 assault in Overland Park,

Kansas described above, on May 4, 2021, LI participated in the Hobbs Act robbery and assault

of another victim.

               23.      Specifically, at approximately 7:00 p.m. EDT, local police officers

responded to a Best Western hotel located at 13500 S. Willow Street in Manchester, New

Hampshire, in response to a hotel guest reporting hearing a loud crash and what sounded like one

male and one female screaming at each other and then struggling with each other in a nearby

room. Upon law enforcement’s arrival, a hotel staff member stated that at approximately 6:50

p.m. EDT, he was doing maintenance near room 113 and heard a loud scream. As he walked

toward the room, two males exited the room and said something to the effect of “don't worry,

she’s crazy.” Officers did not see the female but located torn duct tape on the floor and

condoms in the room. While the officers were on the scene, they received a report of an Asian

female (“Jane Doe 16”) with a bloody face wandering around the neighborhood behind the hotel.

The officers located her and identified her by name. The officers observed that Jane Doe 16 had

multiple facial lacerations, as well as swelling and bruising on a majority of her face. The

medical responder advised Jane Doe 16 that she appeared to have a broken nose, but Jane Doe 16

declined medical attention. Jane Doe 16 stated she was tied up and beaten by her boyfriend,

who also stole unspecified belongings.
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                                                                                                   12

               24.      In a subsequent interview with law enforcement, Jane Doe 16 stated in

sum and substance and in part that she was assaulted by two males while engaged in commercial

sex work. She further stated that one man entered her room and pulled out what appeared to be

a handgun. While pointing the gun at Jane Doe 16, the male took out a condom and demanded

that she have sex with him, which she did. After they had sex, the male appeared to text

someone and a second male arrived. When Jane Doe 16 looked through the peephole, she saw a

man lifting up his shirt to display a gun on his waistband. The first male then grabbed Jane Doe

16’s hair and used his gun to strike her forcefully across the back of her head and on her face.

The male kicked and stomped her all over her body while demanding money. The male dragged

her to the bed by her hair, pressed her head into the bed, and hit her head some more. The male

then dragged her to the door to open the door for the person outside. After the second male

entered, both of them kicked and stomped on her whole body. She was crying, so they turned

the television up to a very loud volume. Jane Doe 16 lost consciousness during the assault.

When she came to, her arms and legs were tied up in black-colored duct tape, and her mouth was

also covered by tape.    Jane Doe 16’s head was also wrapped up in a bedsheet. Both men were

gone, and the room was completely ransacked. The two men took all of her cash, which was

approximately $18,000, her two cell phones, and an iPad.

               25.      With respect to the assault of Jane Doe 16, I have reviewed the following

WeChat communications relevant to this Complaint:

           a. Beginning at approximately 2:28 p.m. EDT on April 29, 2021 (approximately five

days before the May 4, 2021 assault), XU and CURY exchanged messages about when CURY

could travel to Manchester, New Hampshire.
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           b. At approximately 10:54 a.m. EDT on May 3, 2021, the defendant LI, using the

6299 Number, texted XU, “Laowai [i.e., the non-Asian] said he found the person.” LI then

confirmed with XU that they were leaving that day. Shortly thereafter, XU told LI that she had

rented the car for him: “9501 Ditmars Blvd, East Elmhurst NY. This is the car rental address,

the company is Alamo.” However, the trip was called off shortly thereafter because, according

to a message from LI to XU at approximately 11:35 a.m. EDT: “The person that the white guy

found fled. We had just gotten into the uber and he ran off.”

           c. At approximately 10:34 a.m. EDT on May 4, 2021, LI texted XU that he had met

up with CURY. LI wrote, “He found another Asian person. Not the one before.” XU asked LI

to ask the person if he was Korean; LI replied affirmatively. At approximately 10:39 a.m. EDT,

XU wrote to LI: “25 Bowery Bay Blvd, Flushing NY 11371. AVIS.” A minute later, she wrote:

“Did you bring the sim card I gave you last time?” LI responded affirmatively.

           d. At 11:06 a.m. EDT, LI told XU he was done renting the car, and XU responded,

“Then you guys can set off.” LI wrote to XU: “21 Front St, Manchester NH; is this the

address?” XU wrote: “I gave you the address last time” before responding “right.”

           e. At approximately 11:49 a.m. EDT on May 4, 2021, CURY wrote to JIANG: “we

are on.the way.”

           f. At approximately 1:48 p.m. EDT on May 4, 2021, LI informed XU that they

would probably arrive around 4:00 p.m. XU asked why it would take so long. LI responded,

“The laowai [non-Asian] needs to buy something. BB gun and whatnot.” XU asked, “Didn’t he

bring the gun?” LI responded, “He lost the last one.”

           g. At approximately 2:18 p.m. EDT on May 4, 2021, CURY wrote to JIANG: “so

yesterday in elmhurst the bb gun was stolen so we stopped to buy one and the duct. duct tape. but
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should arrive by 4 to 415.” At the same time, also approximately 2:18 p.m. EDT, LI texted

XU: “We drove to a walmart. They went to buy the gun.” XU: “ok.” Over an hour later, XU

texted LI: “Almost there?” LI responded: “That white guy contacted the boss and said they

need to get a bb gun. We are still near the Walmart.” XU: “still didn’t buy one yet?” LI: “He is

buying it now.” At 3:37 p.m. EDT, LI texted XU: “Done buying, leaving now.”

            h. At approximately 5:10 p.m. EDT, LI told XU that they had arrived at the hotel,

and that he was parked across the street, but he could see the entrance. The next message in the

text exchange is at approximately 6:01 p.m. EDT, when LI texted XU: “We have arrived, new

address, the white guy went in.” XU responded: “Ok.”

            i. At approximately 7:26 p.m. EDT, XU wrote to JIANG over WeChat: “the laowai

[non-Asian] is finished assaulting.”

               26.    Historical cell site records obtained pursuant to a judicially-authorized

warrant for CURY’s phone show that at approximately 5:57 p.m. EDT on May 4, 2021, it pinged

at the cell tower located at 800 Harvey Road in Manchester, New Hampshire, which is

approximately a mile from the Best Western at which Jane Doe 16 was assaulted.

               27.    JIANG sent XU a screenshot of a WeChat communication between

JIANG and LI (under the contact “Little Brother Li Jiaxing”), which contained the following

exchange:

            LI:               93 for one uber trip
                              20 for first uber to car rental, laowai was no-show
                              16 to transport laowai to car rental
                              165 brothel needed cash, I took out my own money
                              20 to fill up gas for rental car return
                              total 314

                              since we went upstate, no tolls

                              194.40 gun
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